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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

__________________________________________
In re:                                     )                 Chapter 11
                                           )
YELLOW CORPORATION, et al.,                )                 Case No.: 23-11069 (CTG)
                                           )                 Administratively consolidated
                                           )
            Debtors.                       )                 Hearing Date: October 23,
                                           )                 2023 at 10:00 a.m. (ET)
                                           )
                                           )                 Objection due: October 2, 2023
__________________________________________)

                                             ORDER

       Upon consideration of the Motion of TSC Equipment Finance, LLC (“Movant”) to A)

Compel Debtor YRC, Inc., to assume or reject equipment lease covering approximately 246

Wabash Duraplate Pup Trailers; B) for relief from the automatic stay pursuant to 11 U.S.C. §

362(d) to permit Movant to exercise rights and enforce remedies against Debtor with respect to

equipment lease and trailers; and C) to waive the 14-day stay of enforcement pursuant to F.R.B.P.

4001(a)(3) (“Motion”), it is hereby ORDERED as follows:

       1.      The Motion is GRANTED in all respects.

       2.      The Debtor shall file a motion to assume or reject the Lease by October 23, 2023

(the “Deadline”).

       3.      If the Debtor has not filed a motion to assume or reject the Lease by the Deadline,

without further order of this Court, the Movant shall have relief from the automatic stay and shall

be entitled to exercise all rights and enforce all remedies available to Movant under the Lease or

applicable law. Without limitation, the Movant shall be entitled to: a) issue one or more notices of

default to the Debtor; b) take all actions and effectuate all remedies permitted by the Lease or

applicable law including: i) apply the security deposits to the balance due; ii) terminate the Lease
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or any of the Lease Schedules; iii) require the Debtor to assemble the Trailers for pick up at the

Debtor’s sole expense; and iv) repossesses the Trailers and sell them.

       3.      If the Debtor has not filed a motion to assume or reject the Lease by the Deadline,

the relief from the automatic stay provided by this Order shall be effective immediately and the

fourteen (14) day stay pursuant to F.R.C.P. 4001(a)(3) shall not apply.

       4.      Capitalized terms which are not defined in this Order shall have the same meaning

as set forth in the Motion.



                                                     ______________________________
                                                     United States Bankruptcy Judge
